Case 1:23-cv-03107-TWT Document 53-6 Filed 11/03/23 Page 1 of 9




           EXHIBIT F
         Case 1:23-cv-03107-TWT Document 53-6 Filed 11/03/23 Page 2 of 9



                                     IN THE STATE COURT OF
                                    DEKALB COUNTY, GEORGIA

SAMUEL JENNESS and LEAH JENNESS,
Individually and LEAH JENNESS, as the
Administrator of the Estate of MILES
JENNESS, Deceased,

                      Plaintiffs,
                                                            CASE NO. CV-19A75448

TOYOTA MOTOR CORPORATION;
TOYOTA MOTOR NORTH AMERICA,
INC.; TOYOTA MOTOR SALES, U.S.A.,
INC.; TOYOTA MOTOR ENGINEERING
& MANUFACTURING NORTH AMERICA,
INC.; and MICHELLE WIERSON,

                      Defendants.


                            STIPULATED PRQTECTIV ORDER
       WHEREAS, Plaintiffs filed the above-captioned action ("this action") against Toyota

Motor Corporation ("TMC"), Toyota Motor North America, Inc. ("TMNA"), Toyota Motor Sales,

U.S.A., Inc. ("TMS"), and Toyota Motor Engineering & Manufacturing North America, Inc.
("TEMA") (collectively, the "Toyota Defendants"), and

       WHEREAS, the documents identified as "Confidential" or "Subject to Protective Order" are

claimed by the Toyota Defendants to contain information that includes proprietary interests, trade

secrets, or confidential commercial information, in addition to information that provides the Toyota

Defendants a competitive advantage that will be irretrievably lost if the information is acquired by

competitors of the Toyota Defendants in the automotive industry and marketing business; and

       WHEREAS, the Toyota Defendants desire to preserve the confidentiality of such

information and prevent the information from being acquired by their competitors,

       IT IS HEREBY STIPULATED and requested that the Court enter the following Stipulated

Protective Order for the "Confidential" documents only.



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                                                                                                   STATE COURT OF
                                                                                                DEKALB COUNTY, GA.
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            Case 1:23-cv-03107-TWT Document 53-6 Filed 11/03/23 Page 3 of 9




       IT IS HEREBY ORDERED THAT:
       1.      The term "Confidential Information" as used in this Stipulated Protective Order
shall refer to those documents designated as "Confidential" or "Subject to Protective Order" as
described below, and to the substance of any information obtained from such documents that are
claimed by the Toyota Defendants to contain proprietary interests, trade secrets, or confidential

commercial information, in addition to information that provides the Toyota Defendants a
competitive advantage that will be irretrievably lost if the information is acquired by competitors of
the Toyota Defendants.

       2.        "Confidential Information" has been designated by:

               (a)     Typing, stamping or imprinting upon the document the following words:
                       "CONFIDENTIAL" or "SUBJECT TO PROTECTIVE ORDER;" and

               (b)     Applying such in a manner so as not to obscure any information contained
                       therein.
       3.        All information and documents designated as "Confidential" shall be accorded
confidential status until such time as determined otherwise pursuant to the following provisions of

the Stipulated Protective Order.

       4.      Inadvertent or unintentional production of documents or information containing
"Confidential Information" that should have been designated "Confidential" or "Subject to

Protective Order" shall not be deemed a waiver in whole or in part of a party's claims of

confidentiality and will continue to be deemed "Confidential Information" upon notice to all parties
receiving such inadvertent or unintentional production.

       5.        Any notes, lists, memoranda, indices, compilations electronically stored
information, reports, records and documents prepared or based on an examination of "Confidential

Information" and any summaries of "Confidential Information," which quote from, identify or refer

to the "Confidential Information" with such specificity that the "Confidential Information" can be

identified, or by reasonable logical extension can be identified, shall be accorded the same status of

confidentiality as the underlying "Confidential Information" from which they are made, and shall

be subject to all of the terms of the Stipulated Protective Order.
                                                   2
             Case 1:23-cv-03107-TWT Document 53-6 Filed 11/03/23 Page 4 of 9




        6.       All "Confidential Information" shall be used only for this action, shall not be used
for any business, commercial or competitive purposes, may be disclosed only to the following

individuals or entities, and shall not be revealed, discussed or disclosed in any manner or in
any form to any person, entity or judicial tribunal other than:

                (a)      The Court and Court personnel including court reporters retained by the
                         parties in this action;

                (b)      Counsel named as representing the parties in this action;

                (e)      An employee of counsel named as representing the parties to whom it is
                         necessary that the material be shown for purposes of this action;

                (d)      Officers, directors or employees of a party who have the need to know such
                         information for purposes of this action; and,

                (e)      Experts or professional advisors and persons regularly employed in their
                         offices retained by a party to assist in the prosecution or defense of this
                         action, but only to the extent necessary for such person to perform their assigned
                         tasks in connection with this action.

                (f)      Attorneys representing parties, and the experts and consultants retained by
                         them, in other pending cases against the Toyota Defendant(s) involving
                         allegations that a rear seat occupant was injured or killed in a 2009-2013 MY
                         Toyota Corolla during a rear impact collision because the Corolla allegedly
                         provided insufficient occupant protection for rear seat occupants.
         7.      "Confidential Information" shall not be shown or disclosed to persons described in

paragraphs 6(b), 6(c), 6(d), 6(e) and 6(f) until such persons shall be shown this Stipulated Protective Order
 and signs and dates a written agreement to be bound by the terms of this Stipulated Protective Order, which

 agreement shall be identical to that set forth in Appendix "A" of this Stipulated Protective Order.
        8.       The original and copies of the signed Appendix "A" agreement(s) referenced in

paragraph 7 above, shall be maintained in the possession, custody and control of counsel for each

party receiving "Confidential Information." The Toyota Defendants may seek a Court Order

requiring disclosure of such signed copies to them.

        9.       All persons who receive "Confidential Information" and/or material or information

accorded the status of confidentiality in this action shall maintain the confidentiality of such

material and information in accordance with the terms of this Stipulated Protective Order.

                                                      3
          Case 1:23-cv-03107-TWT Document 53-6 Filed 11/03/23 Page 5 of 9




       10.      Copies of discovery responses          and documents containing "Confidential
Information" shall not be filed with the Court, except in accordance with Paragraph 11.
       11.     In the event that any document, deposition testimony, deposition exhibit,
interrogatory, answer thereto, exhibit or attachment to an interrogatory or answer, request for
production, response thereto, exhibit to a request for production or response, request for admission
or response thereto, exhibit to a request for admission or response, motion, memorandum, affidavit,
brief or any other submission by any party is filed with the Court which includes, incorporates or

quotes "Confidential Information," such filings shall be submitted in sealed envelopes and other
appropriate containers endorsed to the effect that they are subject to this Stipulated Protective

Order by reason of containing "Confidential Information" and shall be maintained under seal and
not disclosed, except to the Court, and except upon further Order of this Court.
       12.      To the extent that any "Confidential Information" is used in the taking of

depositions, such "Confidential Information" shall remain subject to the provisions of this
Stipulated Protective Order. At the time any "Confidential Information" is used in any deposition,
counsel for the parties must inform the reporter of this Stipulated Protective Order. The reporter

shall operate in a manner consistent with this Stipulated Protective Order and shall separately label
the confidential portions of the deposition transcript, including documents and other exhibits

containing Confidential Information. The Confidential Information shall be bound separately

and Counsel for the Toyota Defendant producing the "Confidential Information" shall retain

custody of that portion of the original transcript containing Confidential Information and/or

"Confidential" documents. Those pages in any transcript referring to Confidential
Information shall include a stamp identifying all such pages as "Confidential" and/or

"Subject to Protective Order."

       13.      The Toyota Defendants may designate depositions or other testimony concerning

the documents and the information contained therein as "Confidential Information" by:

               (a)     Stating orally on the record the day the testimony is given that the
                       information is expected to be "Confidential;" or,


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          Case 1:23-cv-03107-TWT Document 53-6 Filed 11/03/23 Page 6 of 9



                (b)      Sending written notice designating those portions of the deposition or other
                         testimony to be treated as "Confidential," within 30 days after the
                         deposition.
        The court reporter shall operate in a manner consistent with this Stipulated Protective Order if
he or she receives any confidential designations from the Toyota Defendants as described in
subparagraphs (a) or (b) above, and shall then prepare an original transcript segregating the
confidential portions of the deposition, including documents and other exhibits containing
"Confidential Information." Counsel for the Toyota Defendant producing the "Confidential
Information" shall retain custody of that portion of the original transcript containing

Confidential Information."
        14.        Any party may apply to the Court for the imposition of further limitations upon the

disclosure of specific information if such party deems further limitations are required. Any party
may apply to the Court for relief from limitations if such party deems such relief is required.

        15.        Nothing in this Stipulated Protective Order shall prevent any disclosure if the party
designating the information as "Confidential" consents to such disclosure.

        16.        The execution of this Stipulated Protective Order shall not in any way detract from
the right of a party to object to the production of discovery materials on grounds other than

confidentiality.

        17.        Failure by a party to challenge the confidentiality of any document or information

at the time of receipt thereof shall not preclude a subsequent challenge thereto. In the event a party to

this action disagrees with the designation of any information as "Confidential," the parties shall

attempt to dispose of such dispute in good faith on an informal basis. If the disagreement cannot be resolved

in this fashion, the party contesting the confidentiality of the material may by motion with the "Confidential
Information" submitted under seal setting forth with specificity the items challenged, seek an Order freeing

the material in question from the designation as "Confidential Information." The party asserting that

documents or other tangible litigation materials constitute "Confidential Information" shall bear the burden

of proof that the criteria of this Stipulated Protective Order apply. Any information as to which such motion



                                                     5
             Case 1:23-cv-03107-TWT Document 53-6 Filed 11/03/23 Page 7 of 9




is made shall remain "Confidential Information" under the provisions of this Stipulated Protective Order
until further Order of the Court.
           18.    Nothing contained in this Stipulated Protective Order shall prevent a party to this

action from using its own Confidential Information and material in any way that it sees fit, or from
revealing its own Confidential Information and material to whomever it chooses, without prior
consent of any person or of the Court. In addition, the terms of this Stipulated Protective Order do
not preclude the Toyota Defendants from providing confidential and/or protected information and

documents to the National Highway Traffic Safety Administration (NHTSA), either voluntarily or
in connection with Toyota's obligations under the National Traffic and Motor Vehicle Safety Act of

1966 (Safety Act), 49 U.S.C. § 30101, et seq.
           19.    After the conclusion of this litigation as to all parties, all "Confidential
Information," all copies thereof, and all documents that contain or reflect "Confidential
Information," including, but not limited to any notes prepared by the parties receiving the
"Confidential Information" counsel for such parties, or such parties' experts, shall be returned to

counsel for the producing Toyota Defendant and all electronic copies will be destroyed and deleted

from any computers, hard drives, servers or cloud storage. The party given the "Confidential
Information" will certify in writing that there is compliance with this paragraph. All "Confidential

Information" shall remain subject to the terms of this Stipulated Protective Order, and the parties cönsent to

the continuation of jurisdiction and venue of this Court to resolve any disputes arising from the treatment or

disposition of "Confidential Information, after conclusion of this litigation.
           20.    This Stipulated Protective Order shall not be abrogated, modified, amended or

enlarged except by agreement of the parties or by noticed motion, with notice given to each of the

parties.

           21.    Nothing contained herein shall restrict the presentation of any evidence, including

"Confidential Information," to a jury or the Court during a trial or other hearing of this action.

However, such presentation shall not constitute a waiver of any restrictions provided for in this

Stipulated Protective Order and the parties agree to take reasonable steps to maintain the

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          Case 1:23-cv-03107-TWT Document 53-6 Filed 11/03/23 Page 8 of 9




confidentiality of any "Confidential Information" at any hearing or upon trial of this matter in such a
manner and until such time as the Court may direct, and/or as the parties may otherwise agree.
Before any such presentation of "Confidential Information," the Toyota Defendants shall be
provided with appropriate notice so that the Toyota Defendants may have the opportunity to lodge
appropriate objections or seek the Court's direction to prevent disclosure of the "Confidential

Information."
       SO ORDERED this the           / 3 day of                             , 2020.



                                               HONORABLE ALVI
                                               STATE COURT OF DE 'LBC

 CONSENTED AND AGREED TO BY:


ATTORNEYS FOR PLAINTIFFS:                              ATTORNEYS FOR TOYOTA
                                                       DEFENDANTS:

/s/ Christopher D. Glover                              /si Anneke J. Shepard
CHRISTOPHER D. GLOVER                                  Harold E. Franklin, Jr.
GA Bar No. 417058 BEASLEY, ALLEN,                      Anneke J. Shepard
CROW,                                                  KING & SPALDING LLP
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 100 Atlanta, GA 30327                                 (404) 572-4600 telephone
(404) 751-1162 telephone (855) 674-1818                hfranklin@kslaw.com
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BRUCE A. HAGEN GA Bar No. 316678
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119 N. McDonough St.
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(404) 522-7744 facsimile                                       DEKALB COUNTY, GA.
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          Case 1:23-cv-03107-TWT Document 53-6 Filed 11/03/23 Page 9 of 9



                                        IN THE STATE COURT OF
                                       DUMB COUNTY, GEORGIA

SAMUEL JENNESS and LEAH JENNESS
Individually and LEAH JENNESS, as the
Administrator of the Estate of MILES
JENNESS, Deceased,

                         Plaintiffs,

V.                                                                 CASE NO. CV-19A75448

TOYOTA MOTOR CORPORATION;
TOYOTA MOTOR NORTH AMERICA,
INC.; TOYOTA MOTOR SALES, U.S.A.,
INC.; TOYOTA MOTOR ENGINEERING
& MANUFACTURING NORTH AMERICA,
[NC.; and MICHELLE WIERSON,

                        Defendants.

                       APPEJVIX A TO STIPULATED PROTECTIVE ORDER

                                                          , certify that I have read the Stipulated Protective

 Order dated                                    , entered in the above- captioned action and further certify

 that I fully understand the procedural and substantive requirements of that Stipulated Protective Order, a

 copy of which is attached hereto. Before reviewing or receiving access to any document, material,

 information and/or discovery subject to the protection of that Stipulated Protective Order and as a condition

 for such review and/or access, I understand and agree that I am personally bound by and subject to all of

 the terms and provisions of the Stipulated Protective Order. I subject myself to the jurisdiction and venue

 of said Court for purposes of enforcement of the Stipulated Protective Order.


                                                   SIGNED NAME

                                                   PRINTED NAME
         Sworn to and subscribed before me this                  day of                    , 2020.


                                                   NOTARY PUBLIC


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